                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 1 of 23



                                                                                 1 Matthew E. Lewitz (SBN 325379)
                                                                                    mlewitz@cozen.com
                                                                                 2 COZEN O’CONNOR
                                                                                   401 Wilshire Boulevard, Suite 850
                                                                                 3 Santa Monica, CA 90401
                                                                                   T: (213) 892-7937
                                                                                 4 F: (310) 394-4700

                                                                                 5 Michael A. Fernández (Pro Hac Vice)
                                                                                    mfernandez@cozen.com
                                                                                 6 COZEN O’CONNOR
                                                                                   3 WTC, 175 Greenwich Street 55th Floor
                                                                                 7 New York, NY 10017
                                                                                   T: (212) 453-3713
                                                                                 8 F: (646) 461-2075

                                                                                 9 Attorneys for Non-Party
                                                                                   X Account Holders,
                                                                                10 John Doe 1 a.k.a @FreddyOliviery;
                                                                                   John Doe 2 a.ka. @PonchoGutz;
                                                                                11 Meta Account Holders,
                                                                                   John Doe 3 a.k.a. “Luis Guillermo Hernández”;
                                                                                12 John Doe 4 a.k.a. “Hans Salazar”; and
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                   Google LLC Account Holder,
                                                                                13 John Doe 5 a.k.a. “SinCensuraTVMedia”
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14
                                                                                                               UNITED STATES DISTRICT COURT
                                                                                15
                                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                                16

                                                                                17 In re Application of BANCO AZTECA S.A.              Case No.: 5:24-mc-80091-NC
                                                                                   INSTITUCIÓN DE BANCA MÚLTIPLE, for an
                                                                                18 Order Pursuant to 28 U.S.C. § 1782 Authorizing      NON-PARTY X, META AND
                                                                                   Discovery for Use in a Foreign Proceeding           GOOGLE ACCOUNT HOLDERS’
                                                                                19                                                     NOTICE OF MOTION AND MOTION
                                                                                                                                       TO QUASH AND/OR FOR
                                                                                20                                                     PROTECTIVE ORDER;
                                                                                                                                       MEMORANDUM OF POINTS AND
                                                                                21                                                     AUTHORITIES
                                                                                22                                                     Hearing Date: October 16, 2024
                                                                                                                                       Hearing Time: 11:00 AM PT
                                                                                23                                                     Courtroom: 5 (Zoom)
                                                                                                                                       Judge: Hon. Nathanael Cousins
                                                                                24

                                                                                25

                                                                                26

                                                                                27

                                                                                28
                                                                                                                                   1
                                                                                      NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND MOTION TO
                                                                                              QUASH AND/OR FOR PROTECTIVE ORDER - Case No.: 5:24-mc-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 2 of 23



                                                                                 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                                                                                 2          PLEASE TAKE NOTICE that on October 16, 2024 at 10:00 A.M. or as soon thereafter as

                                                                                 3 the matter may be heard, in the United States District Court, Northern District of California,

                                                                                 4 located at the San Jose Courthouse, Courtroom 5 – 4th Floor, 280 South 1st Street, San Jose, CA

                                                                                 5 95113, the Non-Party Movants, X Corp. Account Holders, John Doe 1 a.k.a @FreddyOliviery and

                                                                                 6 John Doe 2 a.ka. @PonchoGutz; Meta Account Holders, John Doe 3 a.k.a. “Luis Guillermo

                                                                                 7 Hernández” and John Doe 4 a.k.a. “Hans Salazar”; and Google LLC Account Holder, John Doe 5

                                                                                 8 a.k.a. “SinCensuraTVMedia” (collectively, the “Affected Account Holders” or “Non-Party

                                                                                 9 Movants”) will move, and hereby does move, this Court for an Order denying Banco Azteca’s

                                                                                10 Amended Notice of Application and Amended Ex Parte Application for an Order Pursuant to 28

                                                                                11 U.S.C. §1782 Authorizing Discovery for Use in a Foreign proceeding (the “Amended

                                                                                12 Application”) (ECF No. 39), and quashing the subpoenas served on X Corp. (“X”), Meta and
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 Google LLC (“Google”) by Applicant Banco Azteca, S.A. Institutción de Banca Múltiple (“Banco
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 Azteca”), pursuant to the Court’s Order Approving Issuance of Requested Subpoenas (the

                                                                                15 “Subpoenas”). (ECF No. 18.) This Motion is brought pursuant to Fed. R. Civ. P. 45(d)(3) and 28

                                                                                16 U.S.C. § 1782.

                                                                                17          As set forth below, the Amended Application should be denied and any subpoenas should

                                                                                18 be quashed because Banco Azteca fails to satisfy the threshold conditions of 28 U.S.C. § 1782, as

                                                                                19 well as the discretionary factors articulated in the Supreme Court’s decision in Intel Corp. v

                                                                                20 Advanced Micro Devices, 542 U.S. 241, 225 (2004).

                                                                                21          This Motion is based upon: (1) this Notice of Motion and Motion; (2) the accompanying

                                                                                22 Memorandum of Points and Authorities (3) the concurrently filed Declaration (“Dec.”) of Michael

                                                                                23 A. Fernández (the “Fernández Dec.”); (4) the concurrently filed Dec. of Ilan Katz (the “Katz

                                                                                24 Dec.”); and (5) the [Proposed] Order; (6) all other filings and records in this proceeding; (7) any

                                                                                25 oral argument; (8) all other matters of which the Court may take judicial notice; and (9) any such

                                                                                26 other and further matters the Court may properly consider before ruling.

                                                                                27

                                                                                28
                                                                                                                                      2
                                                                                       NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND MOTION TO
                                                                                               QUASH AND/OR FOR PROTECTIVE ORDER - Case No.: 5:24-mc-80091-NC
                                                                                      Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 3 of 23



                                                                                 1 DATED: September 17, 2024                     Respectfully submitted,

                                                                                 2                                               COZEN O’CONNOR

                                                                                 3                                     By:       /s/ Michael A. Fernández
                                                                                 4                                               Matthew E. Lewitz (SBN 325379)
                                                                                                                                 mlewitz@cozen.com
                                                                                 5                                               COZEN O’CONNOR
                                                                                                                                 401 Wilshire Boulevard, Suite 850
                                                                                 6                                               Santa Monica, CA 90401
                                                                                                                                 T: (213) 892-7937
                                                                                 7                                               F: (310) 394-4700
                                                                                 8                                               Michael A. Fernández (Pro Hac Vice)
                                                                                                                                 mfernandez@cozen.com
                                                                                 9                                               COZEN O’CONNOR
                                                                                                                                 3 WTC, 175 Greenwich Street
                                                                                10                                               55th Floor
                                                                                                                                 New York, NY 10017
                                                                                11                                               T: (212) 453-3713
                                                                                                                                 F: (646) 461-2075
                                                                                12
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                                                                 Attorneys for Non-Party
                                                                                13
COZEN O’ CONNOR




                                                                                                                                 X Account Holders,
                                                        LOS ANGELES, CA 90017




                                                                                                                                 John Doe 1 a.k.a @FreddyOliviery;
                                                                                14                                               John Doe 2 a.ka. @PonchoGutz;
                                                                                                                                 Meta Account Holders,
                                                                                15                                               John Doe 3 a.k.a. “Luis Guillermo
                                                                                                                                 Hernández”;
                                                                                16                                               John Doe 4 a.k.a. “Hans Salazar”; and
                                                                                                                                 Google LLC Account Holder,
                                                                                17                                               John Doe 5 a.k.a. “SinCensuraTVMedia”
                                                                                18

                                                                                19

                                                                                20

                                                                                21

                                                                                22

                                                                                23

                                                                                24

                                                                                25

                                                                                26

                                                                                27

                                                                                28
                                                                                                                             3
                                                                                     NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND MOTION TO
                                                                                             QUASH AND/OR FOR PROTECTIVE ORDER - Case No.: 5:24-mc-80091-NC
                                                                                            Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 4 of 23


                                                                                                                                              TABLE OF CONTENTS
                                                                                 1

                                                                                 2
                                                                                     MEMORANDUM OF POINTS AND AUTHORITIES .................................................................. 1
                                                                                 3
                                                                                     I.         INTRODUCTION ..................................................................................................................... 1
                                                                                 4
                                                                                     II.        STATEMENT OF FACTS........................................................................................................ 3
                                                                                 5         A.        Procedural History................................................................................................................. 3
                                                                                 6              1.      Banco Azteca’s Criminal Complaint................................................................................. 3

                                                                                 7              2.      Banco Azteca’s Civil Lawsuit ........................................................................................... 4
                                                                                           B.        The Non-Party Movants ........................................................................................................ 5
                                                                                 8
                                                                                     III.            STANDING .......................................................................................................................... 6
                                                                                 9
                                                                                     IV.             LEGAL STANDARD ........................................................................................................... 6
                                                                                10
                                                                                     V.         ARGUMENT ............................................................................................................................ 7
                                                                                11         A.        Banco Azteca Has Failed to Satisfy the Threshold Requirement of § 1782 ......................... 7
                                                                                12              1.      Banco Azteca’s Vague Description of the Criminal Matter Pending in Jalisco Fails to
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13              Satisfy Section 1782’s “For Use” Threshold Condition ........................................................... 7
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14              2.      Banco Azteca’s Contrived Civil Matter is Not Within “Reasonable Contemplation” and
                                                                                                Fails to Satisfy Section 1782’s “For Use” Threshold Condition .............................................. 9
                                                                                15
                                                                                           B.        Intel’s Discretionary Factors Weigh in Favor of Quashing the Subpoena ............................ 9
                                                                                16
                                                                                                1.      Intel Factors One and Three Weigh in Favor of Quashing the Subpoena......................... 9
                                                                                17              2.      Intel Factor Two Weighs in Favor of Quashing the Subpoena ....................................... 11
                                                                                18              3.      Intel Factor Four Weighs in Favor of Quashing the Subpoena ....................................... 11
                                                                                19         C.        Additional Considerations ................................................................................................... 13

                                                                                20 VI.               CONCLUSION ................................................................................................................... 15

                                                                                21

                                                                                22

                                                                                23

                                                                                24

                                                                                25

                                                                                26

                                                                                27

                                                                                28
                                                                                                                                                                 i
                                                                                           NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND MOTION TO
                                                                                                    QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                           Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 5 of 23


                                                                                                                                       TABLE OF AUTHORITIES
                                                                                 1

                                                                                 2 Cases
                                                                                   CFE Int’l LLC v. Antaeus Grp. LLC, 2022 WL 17731821 (W.D. Tex. Aug. 26, 2022) ........ 6, 9, 15
                                                                                 3
                                                                                   CFE Int’l LLC v. Antaeus Grp., LLC, 2023 WL 7218045 (W.D. Tex. Sept. 5, 2023) ..................... 7
                                                                                 4
                                                                                   CFE Int'l LLC v. Denham Cap. Mgmt. LP, 2023 WL 2988745 (D. Mass. Mar. 6, 2023) .............. 10
                                                                                 5
                                                                                   Chevron Corp. v. Donziger, 2013 WL 4536808 (N.D. Cal. Aug. 22, 2013) .................................... 6
                                                                                 6 Douglass v. Nippon Yusen Kabushiki Kaisha, 46 F.4th 226(5th Cir. 2022) ................................... 14

                                                                                 7 Free Speech Coal., Inc. v. Paxton, 95 F.4th 263 (5th Cir. 2024) .................................................... 13

                                                                                 8 Free Speech Coal., Inc. v. Rokita, 2024 WL 3228197 (S.D. Ind. June 28, 2024) .......................... 13

                                                                                 9 Highfields Capital Management, L.P. v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2005) ................... 14
                                                                                   In re Anonymous Online Speakers, 661 F.3d 1168 (9th Cir. 2011) ................................................ 14
                                                                                10
                                                                                   In re Application of Republic of Turkey, 2021 WL 671518 (S.D. Ohio Feb. 22, 2021) ............. 9, 10
                                                                                11
                                                                                   In re Choi, 2024 WL 1120130 (N.D. Cal. Mar. 14, 2024)................................................................ 9
                                                                                12 In re Hoteles City Express, 2018 WL 3417551 (N.D. Cal. July 13, 2018). .................................... 12
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 In re Path Network, Inc., 2023 WL 8115045 (N.D. Cal. Nov. 22, 2023) ....................................... 16
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 In re PGS Home Co. Ltd., 2019 WL 6311407 (N.D. Cal. Nov. 25, 2019). .................................... 14

                                                                                15 In re Pioneer Corp. for an Ord. Permitting Issuance of Subpoenas to Take Discovery in a Foreign
                                                                                      Proceeding, 2018 WL 2146412 (C.D. Cal. May 9, 2018) ............................................................ 7
                                                                                16
                                                                                   In re Premises Located at 840 140th Ave. NE, Bellevue, Wash., 634 F.3d 557 (9th Cir. 2011)....... 7
                                                                                17
                                                                                   In re Republic of Turkey, 2021 WL 3022318 (N.D. Ill. July 16, 2021) ........................................ 8, 9
                                                                                18
                                                                                   In re Request for Assistance for Ministry of Legal Affairs of Trinidad & Tobago, 848 F.2d 1151
                                                                                19    (11th Cir. 1998) ............................................................................................................................. 7
                                                                                20 In re Sargeant, 278 F. Supp. 3d 814 (S.D.N.Y. 2017) .................................................................. 7, 9

                                                                                21 Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004) ........................................ passim
                                                                                   Khrapunov v. Prosyankin, 931 F.3d 922 (9th Cir. 2019) ................................................................ 15
                                                                                22
                                                                                   Kiobel by Samkalden v. Cravath, Swaine & Moore LLP, 895 F.3d 238 (2d Cir. 2018) ................... 6
                                                                                23
                                                                                   Matter of Application of O2CNI Co., Ltd., 2013 WL 4442288 (N.D. Cal. Aug. 15, 2013). ............ 9
                                                                                24
                                                                                   Miyawaki v. Google LLC, 2024 WL 2852142 (N.D. Cal. June 5, 2024) ......................................... 9
                                                                                25 Mosafer Inc. v. Broidy, 2022 WL 793029 (C.D. Cal. Feb. 4, 2022) ............................................... 14

                                                                                26 Nat. Gas Pipeline Co. of Am. v. Energy Gathering, Inc., 2 F.3d 1397 (5th Cir. 1993) .................. 16

                                                                                27 Phillips ex rel. Ests. of Byrd v. General Motors Corp., 307 F.3d 1206 (9th Cir. 2002) ................. 16
                                                                                   Thunder Studios, Inc. v. Kazal, 13 F.4th 736 (9th Cir. 2021) ......................................................... 13
                                                                                28
                                                                                                                                     ii
                                                                                          NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND MOTION TO
                                                                                                   QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                          Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 6 of 23


                                                                                      Tokyo Univ. of Soc. Welfare v. Twitter, Inc., 2021 WL 4124216 (N.D. Cal. Sept. 9, 2021) .... 11, 12
                                                                                 1
                                                                                      United States v. 18 Packages of Magazines, 238 F. Supp. 846 (N. D. Cal. 1964).......................... 13
                                                                                 2
                                                                                      United States v. Bescond, 24 F.4th 759 (2d Cir. 2021) ................................................................... 14
                                                                                 3 United States v. Sealed 1, Letter of Request for Legal Assistance from the Deputy Prosecutor Gen.

                                                                                 4       of the Russian Fed'n, 235 F.3d 1200 (9th Cir. 2000) .................................................................... 6
                                                                                 5 Statutes

                                                                                 6 28 U.S.C. § 1782 ...................................................................................................................... passim

                                                                                 7 Fed. R. Civ. P. 26(c) ........................................................................................................................ 16

                                                                                 8 Mut. Legal Assistance Treaties of the U.S., U.S. DEPT. OF JUSTICE S. Treaty Doc. No. 100-13
                                                                                    (Dec. 9, 1987) .......................................................................................................................... 2, 10
                                                                                 9

                                                                                10 Other Authorities
                                                                                   Fernando Pérez-Lozada, “Denial of Justice by Mexican Courts to Canadian Investment Fund
                                                                                11
                                                                                     under NAFTA: the First of its Kind,” Kluwer Arbitration Blog, October 30, 2021 ..................... 4
                                                                                12
                                                                                   Fitch Downgrades Banco Azteca's IDRs to 'BB-'; Outlook Stable, FITCH RATINGS, Mar. 24, 2024 1
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 Hon. Hillary Rodham Clinton, Remarks on Internet Freedom, U.S. DEP’T OF STATE, Jan 21. 2020
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14        ....................................................................................................................................................... 3
                                                                                15 Internet Freedom and Technology and Human Rights, U.S. DEP’T OF STATE ................................. 3

                                                                                16 José de Córdoba and Santiago Pérez, Combative Billionaire’s Bank Accused of Bribing a Texas
                                                                                     Democrat, WALL ST. J., May 8, 2024 ........................................................................................... 1
                                                                                17
                                                                                   Santiago Pérez, Mexican Tycoon’s Retail Chain Ordered to Pay $1 Billion in Back Taxes, WALL
                                                                                18
                                                                                     ST. J., June 13, 2024 ...................................................................................................................... 1
                                                                                19 Simon Schatzberg, “Jalisco identified as a 'red flag' for judicial corruption,” Mexico News Daily

                                                                                20       (May 16, 2019) .............................................................................................................................. 4
                                                                                21

                                                                                22

                                                                                23

                                                                                24

                                                                                25

                                                                                26

                                                                                27

                                                                                28
                                                                                                                                                                  iii
                                                                                         NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND MOTION TO
                                                                                                  QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                         Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 7 of 23



                                                                                 1                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                 2        I.   INTRODUCTION

                                                                                 3          Banco Azteca’s parent company is chaired by, Ricardo Salinas Pliego, a wealthy Mexican

                                                                                 4 magnate who, in the words of the Wall Street Journal, “built a retail and banking empire and

                                                                                 5 became a controversial figure in Mexico for playing hardball with authorities and using TV Azteca

                                                                                 6 to discredit adversaries.” 1 Perhaps seeking to distract from a variety of other problems, 2 Banco

                                                                                 7 Azteca has sought to punch down and use the Mexican legal system and this proceeding to harass

                                                                                 8 the perceived political adversaries—i.e., the Non-Party Movants—of Ricardo Salinas Pliego.

                                                                                 9          Rather than come forward with any evidence demonstrating that it has any causes of action

                                                                                10 against the Non-Party Movants, Banco Azteca relies on self-serving declarations by its employees,

                                                                                11 which fail to provide any documentary evidence regarding purported proceedings in Mexico or

                                                                                12 otherwise show what, if anything, Non-Party Movants have done that would expose them to
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 criminal or civil liability. Banco Azteca’s Amended Application is instead based on unsupported
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 assertions and claims of a vast left wing conspiracy that are risible.

                                                                                15          Before addressing Banco Azteca’s Amended Application, it bears mentioning that it is

                                                                                16 bereft of evidence demonstrating:
                                                                                           • Any evidence that Banco Azteca is pursuing claims under Section III of Article 254 of
                                                                                17             the Federal Criminal Code.
                                                                                           • Any evidence that the Non-Party Movants participated in some kind of “conspiracy” to
                                                                                18             blackmail Banco Azteca.
                                                                                           • Any evidence that the Non-Party Movants have been actually named as parties in the
                                                                                19             criminal complaint that Banco Azteca filed in the State of Jalisco.
                                                                                           • Any evidence that Banco Azteca has a cause of action against Non-Party Movants
                                                                                20             sounding in defamation or libel.
                                                                                21          The absence of any specific accusations against the Non-Party Movants is intentional. The

                                                                                22 Non-Party Movants have been critical of Ricardo Salinas Pliego and his political views, and he

                                                                                23

                                                                                24   1
                                                                                       Santiago Pérez, Mexican Tycoon’s Retail Chain Ordered to Pay $1 Billion in Back Taxes, WALL
                                                                                     ST. J., June 13, 2024, https://www.wsj.com/world/americas/mexican-tycoons-retail-chain-ordered-
                                                                                25   to-pay-1-billion-in-back-taxes-d7b6e565.
                                                                                     2
                                                                                       E.g., José de Córdoba and Santiago Pérez, Combative Billionaire’s Bank Accused of Bribing a
                                                                                26   Texas Democrat, WALL ST. J., May 8, 2024, https://www.wsj.com/world/americas/the-mexican-
                                                                                     bank-behind-alleged-bribes-to-a-texas-democrat-4cf4cc17; Fitch Downgrades Banco Azteca's
                                                                                27   IDRs to 'BB-'; Outlook Stable, FITCH RATINGS, Mar. 24, 2024
                                                                                     https://www.fitchratings.com/research/banks/fitch-downgrades-banco-azteca-idrs-to-bb-outlook-
                                                                                28   stable-25-03-2024.
                                                                                                                                     1
                                                                                         NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                         MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                         Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 8 of 23



                                                                                 1 has reciprocated by calling some “Marxist asshole [sons of bitches of their mothers].” (Katz Dec.

                                                                                 2 ¶¶ 54-55, 59, 60.)

                                                                                 3          The Amended Application and Subpoenas raise significant concerns in the context of

                                                                                 4 unmasking anonymous users and implicating free speech interests and should be denied for a

                                                                                 5 number of reasons.

                                                                                 6          First, Banco Azteca fails to satisfy the threshold conditions of 28 U.S.C. § 1782. There is

                                                                                 7 no showing that a dispositive ruling in a proceeding is “within reasonable contemplation,” or that

                                                                                 8 the information being sought will be “for use” in a Mexican proceeding. Specifically, there is no

                                                                                 9 connection between the Non-Party Movants’ purportedly problematic posts, which are notably not

                                                                                10 annexed to the Amended Application, and Banco Azteca’s rationale for seeking information. This

                                                                                11 alone is sufficient to quash the Subpoenas.

                                                                                12          Second, Banco Azteca fails to satisfy the discretionary factors articulated in the Supreme
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 Court’s decision in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004). The
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 Amended Application fails to explain why the procedure that exists for seeking evidence in cross-

                                                                                15 border criminal matters—the Mutual Legal Assistance Treaty (“MLAT”) between Mexico and the

                                                                                16 United States 3 —is seemingly not being pursued. It fails to explain why Banco Azteca is

                                                                                17 purporting to act as an investigator for Mexican authorities, without any indication of interest by

                                                                                18 those authorities in Banco Azteca’s efforts here. It also fails to show that any eventual criminal

                                                                                19 indictment or civil complaint could survive a motion to dismiss. All of these concerns lead to the

                                                                                20 Intel factors weighing in favor of quashing the Subpoenas.

                                                                                21          Finally, the Amended Application directly implicates several, significant First Amendment

                                                                                22 concerns. It seeks to unmask anonymous speakers who have expressed political views contrary to

                                                                                23 Banco Azteca’s ownership. It risks a chilling effect on other anonymous speakers at-issue in the

                                                                                24 Subpoenas who have posted content on issues of public importance (i.e., the alleged health of a

                                                                                25 large financial institution) that, by unmasking them, could result in not only discouraging others

                                                                                26 from speaking, but also depriving U.S.-based listeners of their right to hear such speech.

                                                                                27   3
                                                                                    See Mut. Legal Assistance Treaties of the U.S., U.S. DEPT. OF JUSTICE S. Treaty Doc. No.
                                                                                28 100-13 (Dec. 9, 1987), available at https://www.state.gov/91-503/.
                                                                                                                                   2
                                                                                         NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                         MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                         Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 9 of 23



                                                                                 1 It is the policy of the United States to promote internet access worldwide and to favor the freedom

                                                                                 2 of speech worldwide. 4 Such a policy includes the promotion of anonymous speech; as recognized

                                                                                 3 by former Secretary of State Hillary Clinton, “anonymity … permits people to come together in

                                                                                 4 settings that gives them some basis for free expression without identifying themselves.” 5 To

                                                                                 5 vindicate this important aim of U.S. foreign policy, the Court should deny Banco Azteca’s

                                                                                 6 Amended Application.

                                                                                 7          Pursuant to 28 U.S.C. §1782 and Federal Rule of Civil Procedure 45(c), the Non-Party

                                                                                 8 Movants hereby move for an order denying the Amended Application and quashing the Subpoenas

                                                                                 9 seeking information to unmask the Non-Party Movants. By providing information to linking their

                                                                                10 identities with their speech, this information will reveal the location and associations of these non-

                                                                                11 parties in violation of their right to privacy.

                                                                                12 II.      STATEMENT OF FACTS
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13          A.      Procedural History
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14          Banco Azteca’s basis for seeking to unmask the Non-Party Movants has been as steady as

                                                                                15 the flickering of a butterfly. Initially, Banco Azteca sought to unmask the Non-Party Movants

                                                                                16 based on a criminal complaint that was filed in the State of Jalisco. (ECF No. 1.) Now Banco

                                                                                17 Azteca claims that it also entitled to unmask the Non-Party Movants in aid of a contemplated civil

                                                                                18 proceeding that has or hasn’t been initiated. (ECF No. 39.)

                                                                                19                  1.      Banco Azteca’s Criminal Complaint
                                                                                20          Banco Azteca’s Amended Application claims that, on January 19, 2024, it filed a criminal

                                                                                21 complaint with the Public Prosecutor’s Office in the State of Jalisco. (ECF No. 39 at 11.) Banco

                                                                                22 Azteca states the complaint “was registered under investigation folder number 5101/2024 of

                                                                                23 Agency 4 of Bulk Processing of the Public Prosecutor’s Office of the State of Jalisco.” (Id.) It also

                                                                                24

                                                                                25   4
                                                                                     Internet Freedom and Technology and Human Rights, U.S. DEP’T OF STATE (“Just as people
                                                                                   must be able to exercise their rights to freedoms of expression, association, religion or belief, and
                                                                                26 peaceful assembly offline, they must also be able to exercise these same rights online.”), available
                                                                                   at https://www.state.gov/internet-freedom-and-technology-and-human-rights/ (last visited
                                                                                27 September 16, 2024).
                                                                                   5
                                                                                     Hon. Hillary Rodham Clinton, Remarks on Internet Freedom, U.S. DEP’T OF STATE (Jan 21.
                                                                                28 2020), https://2009-2017.state.gov/secretary/20092013clinton/rm/2010/01/135519.htm.
                                                                                                                                     3
                                                                                         NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                         MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                         Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 10 of 23



                                                                                 1 states Banco Azteca “ratified the criminal complaint and was recognized as the offending party.”

                                                                                 2 (Id.) In connection with that filing, Banco Azteca further states that “a Preliminary Criminal Judge

                                                                                 3 ordered that Meta and X remove the offending publications from at least ten accounts, including

                                                                                 4 those relating to the La Catrina Norteña, Defensa del Consumidor, Alberto Rudo, Hanz Salazar,

                                                                                 5 Red AMLO Mx, and El Chapucero accounts.” (Id. at 12.)

                                                                                 6           Despite repeated requests since August 13, 2023, Banco Azteca has refused to provide any

                                                                                 7 documents evidencing the purported criminal allegations brought against the Non-Party Movants

                                                                                 8 or provide any information about what has happened or is happening in Jalisco. (See Fernández,

                                                                                 9 Dec. ¶¶ 5-12, Exhibit (“Ex.”) B-D.) Banco Azteca has likewise offered no justification for its

                                                                                10 decision to initiate a proceeding in one of Mexico’s most corrupt judiciaries. (Id ¶¶ 9-12; Exs. E-

                                                                                11 F.) 6

                                                                                12                  2.     Banco Azteca’s Civil Lawsuit
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13           Banco Azteca’s Amended Application states that “Applicant intends to file a civil lawsuit
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 against all the individuals behind the social media accounts that injured Applicant, and has

                                                                                15 commenced a civil action against certain individuals.” (ECF No. 39-3 at 5.) 7 Despite this

                                                                                16 seemingly categorial statement, however, Banco Azteca then states that “[c]onfirmation of this

                                                                                17 information, namely the identity of the anonymous individuals, as well as IP addresses and other

                                                                                18 information like time signatures relating to the posts at issue, will enable Applicant to properly

                                                                                19 and accurately assess any arguments by the Defendants in the civil action that they did not

                                                                                20 circulate these posts.” (ECF No. 39-3 at 6.) Further muddling Banco Azteca’s position is a further

                                                                                21 statement that “[i]f Banco Azteca deems it appropriate to file a civil lawsuit and presents evidence

                                                                                22 proving that certain defendants published false information about the institution on social media

                                                                                23
                                                                                     6
                                                                                     For context, “Jalisco is one of five problem states for corrupt judges according to a map of
                                                                                24 corruption allegations against federal judges and magistrates across [Mexico].” Simon Schatzberg,
                                                                                   “Jalisco identified as a 'red flag' for judicial corruption,” Mexico News Daily (May 16, 2019),
                                                                                25 https://mexiconewsdaily.com/news/red-flag-for-judicial-corruption/; see also Fernando Pérez-
                                                                                   Lozada, “Denial of Justice by Mexican Courts to Canadian Investment Fund under NAFTA: the
                                                                                26 First of its Kind,” Kluwer Arbitration Blog (October 30, 2021),
                                                                                   https://arbitrationblog.kluwerarbitration.com/2021/10/30/denial-of-justice-by-mexican-courts-to-
                                                                                27 canadian-investment-fund-under-nafta-the-first-of-its-kind/.
                                                                                   7
                                                                                     Banco Azteca has, to date, not clarified against whom it has been able to initiate a civil lawsuit.
                                                                                28 (Fernández Dec. ¶12.)
                                                                                                                                         4
                                                                                           NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                           MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                         Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 11 of 23



                                                                                 1 platforms, Banco Azteca has a viable claim for defamation and damages under Mexican law.”

                                                                                 2 (ECF 39-4 at 4.)

                                                                                 3          The Amended Application does not specify against which of the anonymous social media

                                                                                 4 users any civil action(s) have been commenced. With respect to the Non-Party Movants, the

                                                                                 5 Amended Application also does not provide any evidence of what purportedly “false information”

                                                                                 6 they published about Banco Azteca.

                                                                                 7          B.      The Non-Party Movants 8
                                                                                 8          All of the Non-Party Movants have followers in the U.S. (Katz Dec. ¶ 67.)

                                                                                 9          Broadly speaking, the John Does 1-4 use their social media accounts to provide social and

                                                                                10 political commentary. (E.g., Katz Dec. ¶¶ 59, 63-64.) John Doe 5, in turn, “is an unprecedented

                                                                                11 effort by both free and independent journalists, as well as experts in different disciplines and

                                                                                12 fields, who seek to incite the critical spirit of audiences tired of lies and manipulation in corporate
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 or conventional media. All of us who work at Sin Censura seek to serve you with truth and justice,
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 thus displacing robotic and hypocritical journalism, through human, real and participatory

                                                                                15 information work, and whose objective will always be the establishment of increasingly

                                                                                16 democratic societies.” Katz Dec. ¶52

                                                                                17          Banco Azteca’s Amended Application is bereft of any statements made by John Does 1-4

                                                                                18 that would give rise to civil and/or criminal liability. While Banco Azteca takes umbrage with

                                                                                19 news report by John Doe 5, a transcription of the actual video reflects that it is simply a news

                                                                                20 report on an event of public interest. (E.g., Katz Dec. ¶¶ 57-58.)

                                                                                21          None of the Non-Party Movants has engaged, retained or otherwise directed any

                                                                                22 individuals to represent them and communicate with Banco Azteca to demand blackmail money.

                                                                                23 (Katz Dec. ¶ 67.)

                                                                                24

                                                                                25

                                                                                26   8
                                                                                     Because Banco Azteca previously raised questions about the Affected Account Holders ability to
                                                                                   proceed anonymously (Fernández Dec. ¶4), they are proffering information about certain facts
                                                                                27 through the Dec. of Ilan Katz. If required by the Court, they would provide a declaration under
                                                                                   oath affirming the statements contained therein with appropriate safeguards for their anonymity.
                                                                                28 (Katz Dec. ¶ 68.)
                                                                                                                                     5
                                                                                          NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                          MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 12 of 23



                                                                                 1 III.     STANDING

                                                                                 2          Banco Azteca is seeking the Non-Party Movants’ personal identifying information.

                                                                                 3 Because of this, the Non-Party Movants “have standing to move to quash the subpoenas only with

                                                                                 4 respect to the [accounts] they claim to own.” Chevron Corp. v. Donziger, 2013 WL 4536808, at *4

                                                                                 5 (N.D. Cal. Aug. 22, 2013) (Cousins, M.J.).

                                                                                 6 IV.     LEGAL STANDARD

                                                                                 7          28 U.S.C. § 1782 authorizes U.S. courts to order discovery in aid of a foreign proceeding

                                                                                 8 only where an applicant shows that the requested materials are “for use in a proceeding before a

                                                                                 9 foreign or international tribunal.” 28 U.S.C. § 1782. Section 1782 has three threshold

                                                                                10 requirements: (1) the person or entity from whom discovery is sought resides in or can be found in

                                                                                11 the court’s district; (2) the application is made by a foreign or international tribunal or “any

                                                                                12 interested person;” and (3) the discovery is “for use in a proceeding in a foreign or international
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 tribunal, including criminal investigations conducted before formal accusation.” CFE Int’l LLC v.
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 Antaeus Grp. LLC, 2022 WL 17731821, at *5 (W.D. Tex. Aug. 26, 2022), report and

                                                                                15 recommendation adopted, 2022 WL 19569581 (W.D. Tex. Dec. 6, 2022).

                                                                                16          Satisfying the threshold requirements merely “authorizes, but does not require” a court to

                                                                                17 permit discovery, which is wholly discretionary. See e.g., Intel Corp. 542 U.S. at 255. In that

                                                                                18 regard, the Supreme Court has identified four non-exhaustive factors to guide a court’s exercise of

                                                                                19 its discretion in granting discovery: (1) whether the person from whom discovery is sought is a

                                                                                20 participant in the foreign proceeding; (2) the nature and character of the foreign proceeding and

                                                                                21 the receptivity of the foreign government, court, or agency to federal-court judicial assistance; (3)

                                                                                22 whether the request conceals an attempt to circumvent foreign proof-gathering restrictions or other

                                                                                23 policies of a foreign country or the United States; and (4) whether the requests are unduly intrusive

                                                                                24 or burdensome. Id. at 264. In addition, “[a] district court should also take into account any other

                                                                                25 pertinent issues arising from the facts of the particular dispute.” Kiobel by Samkalden v. Cravath,

                                                                                26 Swaine & Moore LLP, 895 F.3d 238, 245 (2d Cir. 2018). This includes the “substance to the

                                                                                27 allegations, and whether the foreign [party] is proceeding in good faith.” United States v. Sealed 1,

                                                                                28
                                                                                                                                       6
                                                                                          NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                          MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                        Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 13 of 23



                                                                                 1 Letter of Request for Legal Assistance from the Deputy Prosecutor Gen. of the Russian Fed'n, 235

                                                                                 2 F.3d 1200, 1205–06 (9th Cir. 2000).

                                                                                 3 V.     ARGUMENT

                                                                                 4          A.      Banco Azteca Has Failed to Satisfy the Threshold Requirement of § 1782
                                                                                 5          As noted above, Section 1782 requires a party to demonstrate that the discovery sought

                                                                                 6 will be “for use in a proceeding in a foreign or international tribunal, including criminal

                                                                                 7 investigations conducted before formal accusation.” 28 U.S.C. § 1782. To satisfy this requirement,

                                                                                 8 “[t]he applicant must have more than a subjective intent to undertake some legal action, and

                                                                                 9 instead must provide some objective indicium that the action is being contemplated.” In re

                                                                                10 Pioneer Corp. for an Ord. Permitting Issuance of Subpoenas to Take Discovery in a Foreign

                                                                                11 Proceeding, 2018 WL 2146412, at *6 (C.D. Cal. May 9, 2018). In that connection, “[c]ourts must

                                                                                12 guard against the specter that parties may use § 1782 to investigate whether litigation is possible
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 before launching.” In re Sargeant, 278 F. Supp. 3d 814, 823 (S.D.N.Y. 2017). Thus, a court
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 should deny a Section 1782 request when it “‘suspects that the request is a ‘fishing expedition’ or

                                                                                15 a vehicle for harassment.’” In re Request for Assistance for Ministry of Legal Affairs of Trinidad

                                                                                16 & Tobago, 848 F.2d 1151, 1156 (11th Cir. 1998) cited by In re Premises Located at 840 140th

                                                                                17 Ave. NE, Bellevue, Wash., 634 F.3d 557, 563 (9th Cir. 2011); CFE Int’l LLC v. Antaeus Grp.,

                                                                                18 LLC, 2023 WL 7218045, at *5 (W.D. Tex. Sept. 5, 2023) (denying discovery where petitioner

                                                                                19 seeks “to gather information and documents for its own unspecified alternative purposes.”)

                                                                                20 (collecting cases), report and recommendation adopted in part, 2023 WL 7181266 (W.D. Tex.

                                                                                21 Nov. 1, 2023).

                                                                                22          The Amended Application fails to provide sworn proof concerning the links or posts by the

                                                                                23 Non-Party Movants that that have been raised (or would be raised) in any proceeding in Mexico.

                                                                                24 As explained below, Banco Azteca’s Amended Application is little more than a dressed up vehicle

                                                                                25 to harass Ricardo Salinas Pliegos’s political adversaries in Mexico.

                                                                                26                  1.     Banco Azteca’s Vague Description of the Criminal Matter Pending in
                                                                                                           Jalisco Fails to Satisfy Section 1782’s “For Use” Threshold Condition
                                                                                27
                                                                                            With respect to the criminal “matter” pending in Jalisco, the Amended Application’s vague
                                                                                28
                                                                                                                                      7
                                                                                         NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                         MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 14 of 23



                                                                                 1 description of the allegations in the criminal complaint and status of any criminal investigation or

                                                                                 2 proceeding fails to satisfy Section 1782’s “for use” threshold condition.

                                                                                 3          In Antaeus Grp. LLC, a private Mexican company filed an ex parte application under

                                                                                 4 section 1782 seeking discovery from U.S. companies. The application represented that the

                                                                                 5 discovery was “in aid of a Mexican criminal investigation” concerning a third party. Antaeus Grp.

                                                                                 6 LLC, 2022 WL 17731821, at *1. The application further represented that “the Office of the

                                                                                 7 Mexican Special Anti-Corruption Prosecutor in Mexico City opened an investigation” and that the

                                                                                 8 Mexican Attorney General “asked a court in Mexico to hold a hearing to allow prosecutors to

                                                                                 9 present an imputación . . . in order to initiate a criminal case.” According to the applicant, “once

                                                                                10 the imputación has been presented and accepted by the judge, the [Attorney General] can continue

                                                                                11 to investigate for six months or more, after which it will decide to proceed to trial.” Id. In denying

                                                                                12 the application, the court noted that the applicant “did not attach the purported criminal complaint
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 and provided no other primary documentation describing the current status or scope of the
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 Mexican Investigation that would enable the court to independently assess the proceedings.” Id. at

                                                                                15 *5. Because the application had a “dearth of concrete information about the subject matter, scope,

                                                                                16 and status of the Mexican Investigation,” it was too “difficult” to conclude “that a dispositive

                                                                                17 ruling is within reasonable contemplation, as required by the Supreme Court in Intel.” Id.

                                                                                18          Here, as in Antaeus Grp. LLC, the Amended Application does not state who is leading the

                                                                                19 investigation or any concrete information about the subject matter, scope, and status of the

                                                                                20 criminal “matter.” Nor has Banco Azteca attached the criminal complaint, hearing transcripts, or

                                                                                21 any other documentation that could enable the Court to assess the proceedings in Mexico. For

                                                                                22 example, the Amended Application does not state whether X and Meta users John Does 1-3 were

                                                                                23 referenced in the order purportedly issued by the Preliminary Criminal Judge on February 6, 2024.

                                                                                24 (ECF No. 39 at 12.) The omission raises many questions. After all, the Preliminary Criminal Judge

                                                                                25 could very well have dismissed the criminal complaint as to John Does 1-3 (or never granted relief

                                                                                26 because they weren’t listed as parties in the first instance). Because of the application’s “dearth of

                                                                                27 concrete information” about Banco Azteca’s criminal and civil “matters,” this Court cannot

                                                                                28
                                                                                                                                      8
                                                                                        NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 15 of 23



                                                                                 1 conclude that a dispositive ruling is within reasonable contemplation. See, e.g., In re Republic of

                                                                                 2 Turkey, 2021 WL 3022318, at *4 (N.D. Ill. July 16, 2021) (“The respondents argue that the

                                                                                 3 petitioner's failure to provide specific details about the investigation and how it plans to use the

                                                                                 4 requested discovery forecloses it from satisfying the second statutory requirement. The Court finds

                                                                                 5 the respondents’ argument persuasive.”).

                                                                                 6                 2.      Banco Azteca’s Contrived Civil Matter is Not Within “Reasonable
                                                                                                           Contemplation” and Fails to Satisfy Section 1782’s “For Use” Threshold
                                                                                 7                         Condition
                                                                                 8          Similarly, the Amended Application’s suggestion that Banco Azteca may or may not bring

                                                                                 9 civil proceedings depending on what the discovery reveals undermines its claim that its actions are

                                                                                10 not within “reasonable contemplation.” See e.g., In re Sargeant, 278 F. Supp. 3d at 823. This

                                                                                11 admission casts doubt on whether the Amended Application seeks this discovery “for use” in the

                                                                                12 Mexican criminal proceeding or is instead going on a “fishing expedition district courts are
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 counseled to guard against.” Antaeus Grp. LLC, 2022 WL 17731821, at *5.
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14                                                  ****

                                                                                15          For these reasons, the Application falls far short of the threshold conditions of Section

                                                                                16 1782 and X Corp.’s Motion to Quash should be granted on this basis alone.

                                                                                17          B.     Intel’s Discretionary Factors Weigh in Favor of Quashing the Subpoena
                                                                                18                 1.      Intel Factors One and Three Weigh in Favor of Quashing the Subpoena
                                                                                19          Federal district courts have weighed the first Intel factor—i.e. whether the discovery

                                                                                20 sought is within the foreign tribunal’s jurisdictional reach and, thus, accessible without Section

                                                                                21 1782 aid (Intel, 542 U.S. at 241)—as well as the third Intel factor—i.e., “whether the §

                                                                                22 1782(a) request conceals an attempt to circumvent foreign proof-gathering restrictions or other

                                                                                23 policies of a foreign country or the United States” (id. at 265)—against granting an application

                                                                                24 where discovery is sought for a criminal proceeding and the country’s criminal authorities have

                                                                                25 the option to proceed with the MLAT process but have chosen not to. See Miyawaki v. Google

                                                                                26 LLC, 2024 WL 2852142, at *2 (N.D. Cal. June 5, 2024); In re Choi, 2024 WL 1120130, at *2

                                                                                27 (N.D. Cal. Mar. 14, 2024); In re Republic of Turkey, 2021 WL 3022318, at *4; In re Application

                                                                                28
                                                                                                                                      9
                                                                                        NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                         Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 16 of 23



                                                                                 1 of Republic of Turkey, 2021 WL 671518, at *10 (S.D. Ohio Feb. 22, 2021); Matter of Application

                                                                                 2 of O2CNI Co., Ltd., 2013 WL 4442288, at *8 (N.D. Cal. Aug. 15, 2013).

                                                                                 3          Mexico is party to an MLAT that gives its criminal authorities the ability to seek

                                                                                 4 information from the social media companies in the United States. 9 The MLAT process provides

                                                                                 5 vital safeguards to protect entities from questionable criminal proceedings or investigations by (1)

                                                                                 6 permitting the criminal authorities in the foreign jurisdiction to decide whether to invoke MLAT

                                                                                 7 (Katz Dec. ¶¶38-40) and (2) permitting DOJ review of the discovery requests. In re Application of

                                                                                 8 Republic of Turkey, 2021 WL 671518, at *10 (citations omitted). By following this process, “the

                                                                                 9 U.S. government’s expertise and analytic rigor is applied to the application, including to assure

                                                                                10 that the discovery is not sought for ulterior (nonprosecutive) ends.” Id.

                                                                                11          Here, a prosecutor in Mexico could use the MLAT process to obtain the identity of the

                                                                                12 Non-Party Movants. Where Banco Azteca is seeking to unmask anonymous users to face criminal
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 charges abroad, it is particularly important for the prosecutors to assess such requests. As the
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 Denham Cap. Mgmt. LP court observed:

                                                                                15          [I]f the Mexican prosecutors want the evidence that [Applicant] seeks, such
                                                                                            evidence appears to be well within their reach through MLAT channels. In fact,
                                                                                16          Mexican prosecutors and law enforcement are directed to use MLAT procedures
                                                                                            and other diplomatic means to collect evidence for their case as it preserves the
                                                                                17          custody and control of the evidence. Therefore, the rationale for the first factor, i.e.,
                                                                                            the need for foreign discovery that would otherwise be unavailable, is lessened
                                                                                18          here.
                                                                                19 CFE Int'l LLC v. Denham Cap. Mgmt. LP, 2023 WL 2988745, at *7 (D. Mass. Mar. 6, 2023).

                                                                                20          The Amended Application fails to explain whether a request under MLAT has not been
                                                                                21 pursued or otherwise requested. To the extent that such a process has been initiated, “Petitioner

                                                                                22 does not explain why time is of particular concern here.” In re Application of Republic of Turkey,

                                                                                23 2021 WL 671518, at *10. The safeguards of independent prosecutorial review are important where

                                                                                24 Banco Azteca is seeking to unmask anonymous users, many of whom hold themselves out as

                                                                                25 using their accounts for political speech and are regularly critical of Ricardo Salinas Pliego, for

                                                                                26 potential use in a corrupt jurisdiction. Banco Azteca’s “weak justification for circumventing the

                                                                                27   9
                                                                                    See Mut. Legal Assistance Treaties of the U.S., U.S. DEPT. OF JUSTICE S. Treaty Doc. No.
                                                                                28 100-13 (Dec. 9, 1987), available at https://www.state.gov/91-503/.
                                                                                                                                  10
                                                                                          NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                          MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 17 of 23



                                                                                 1 MLAT process, cannot go unnoticed, especially where that process seems tailor-made for the

                                                                                 2 circumstances Petitioner identifies.” Id. at *12.

                                                                                 3                  2.      Intel Factor Two Weighs in Favor of Quashing the Subpoena
                                                                                 4          The second Intel factor requires the court to “take into account the nature of the foreign

                                                                                 5 tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign

                                                                                 6 government or the court or agency abroad to U.S. federal-court judicial assistance.” Intel, 542 U.S.

                                                                                 7 at 264. Here, the Amended Application fails to provide any details regarding the current status of

                                                                                 8 the criminal and civil proceedings initiated by Banco Azteca in Mexico and whether evidence

                                                                                 9 obtained by a Section 1782 proceeding could be used (which it may not be) (Katz Dec. ¶18),

                                                                                10 thereby making it impossible to adequately discern the “character of the proceedings underway

                                                                                11 abroad.” Intel, 542 U.S. at 264. Moreover, the fact that Banco Azteca has, by its own admission,

                                                                                12 “commenced a civil action against certain individuals” (ECF No. 39-3 at 5) raises questions about
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 its need for discovery in order to bring any potential civil proceeding. Given Banco Azteca’s
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 repeated failure to provide any evidence regarding the nature of the proceedings in Mexico

                                                                                15 (Fernandez Dec. ¶ 5 & Exs. B-D), the Court should conclude that this factor weighs in favor of

                                                                                16 quashing the Amended Application.

                                                                                17                  3.      Intel Factor Four Weighs in Favor of Quashing the Subpoena
                                                                                18          “Where a section 1782 applicant seeks leave to conduct discovery to identify an

                                                                                19 anonymous speaker, courts have evaluated the request under the fourth Intel factor—whether the

                                                                                20 request is unduly intrusive or burdensome” by applying the good cause standard that governs Rule

                                                                                21 26(d) requests for early discovery. Tokyo Univ. of Soc. Welfare v. Twitter, Inc., 2021 WL

                                                                                22 4124216, at *3 (N.D. Cal. Sept. 9, 2021). To that end, federal courts will consider whether the

                                                                                23 petition (1) identifies the missing defendant with sufficient specificity such that the court can

                                                                                24 determine that it is a real person subject to a lawsuit; (2) identifies all previous steps taken to

                                                                                25 locate and identify the elusive defendant; (3) demonstrates that the action against the defendant

                                                                                26 can withstand a motion to dismiss; and (4) proves that the discovery is likely to lead to the

                                                                                27 identification of the defendant such that service of process would be possible. Id.. If an applicant

                                                                                28
                                                                                                                                       11
                                                                                        NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 18 of 23



                                                                                 1 satisfies all four good cause factors, the court must then also consider the potential chilling effect

                                                                                 2 on First Amendment rights of ordering disclosure of an anonymous speaker’s identity. Id.

                                                                                 3          Here, there is no evidence that all possible options available to Banco Azteca to discover

                                                                                 4 the identities of the Non-Party Movants have been exhausted. In addition, the Amended

                                                                                 5 Application fails to offer little more than conclusory assertions of how the purported Mexican

                                                                                 6 proceedings could survive the equivalent of a motion to dismiss in Mexico. Specifically, the

                                                                                 7 Amended Application simply asserts that “[t]he facts alleged herein would be sufficient to

                                                                                 8 withstand a Motion to Dismiss in this Court and under Mexican law.” (ECF No. 39 at 24.) That

                                                                                 9 fails to explain how the facts would survive a motion to dismiss under Mexican or even U.S. law.

                                                                                10 Indeed, the barebones information that Banco Azteca has shared does not establish that there is a

                                                                                11 meritorious civil or criminal case against the Non-Party Movants. (Katz Dec. ¶¶ 15-16, 69-72.)

                                                                                12          In re Hoteles City Express underscores the inadequacy of the Amended Application. In
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 that case, “[t]he Declaration of Yolanda Medina Rodriguez offered in support of the ex parte
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 application attests to the legal conclusion that Jose Juan Espinosa Torres’s statement were

                                                                                15 ‘slanderous/libelous,’ but does not describe what the statements actually were.” 2018 WL

                                                                                16 3417551, at *3 (N.D. Cal. July 13, 2018). As a result, the court found that “Hoteles has provided

                                                                                17 insufficient information for the Court to determine whether it could actually state a claim for

                                                                                18 defamation under Mexican law. Without further information regarding the statements themselves

                                                                                19 and the law governing any claim based on the statements, the Court declines to grant the Section

                                                                                20 1782 application.” Id.

                                                                                21          Similarly, the Tokyo University of Social Welfare court found the fourth Intel factor

                                                                                22 weighed in favor of quashing a subpoena where the applicant’s attorney “offers an opinion as a

                                                                                23 Japanese lawyer that the Subject Tweet was posted for harassment purposes and constitutes

                                                                                24 defamation under Japanese law.” 2021 WL 4124216, at *4. The court found this opinion was

                                                                                25 “entirely conclusory” and failed to explain how the tweets were defamatory or false. Id. at *5.

                                                                                26          With respect to the criminal matter, Banco Azteca simply points to the alleged

                                                                                27 investigation by “Mexican law enforcement authorities” in efforts to demonstrate that it would

                                                                                28
                                                                                                                                      12
                                                                                        NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 19 of 23



                                                                                 1 survive a amotion to dismiss. (ECF No. 39-4.) That is insufficient. Simply because Mexican

                                                                                 2 prosecutors have commenced an “investigation” does not mean that Banco Azteca’s allegations

                                                                                 3 would survive a motion to dismiss. (Katz Dec. ¶16.) This is particularly so where Banco Azteca

                                                                                 4 has offered absolutely no evidence by a percipient witness that Non-Party Movants are part of

                                                                                 5 some “conspiracy” aimed at blackmailing Banco Azteca and there is evidence to the contrary.

                                                                                 6 (Katz Dec. ¶ 67.)

                                                                                 7         With respect to the civil proceeding, Banco Azteca merely lays out the elements of a

                                                                                 8 defamation claim and, in conclusory fashion, states that it would have a claim as against Non-

                                                                                 9 Party Movants. Banco Azteca offers no analysis of how any statements by the Non-Party Movants

                                                                                10 would constitute defamation. (Katz Dec. ¶¶ 71-72.)

                                                                                11         C.      Additional Considerations
                                                                                12         The Non-Party Movants are entitled to the protections of the First Amendment.
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13         First, the Non-Party Movants have followers in the U.S. (Katz Dec. ¶ 67.) An order
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 unmasking the Non-Party Movants would undermine their ability to freely communicate with their

                                                                                15 U.S.-based audience and thereby the right of free speech of their recipients in the U.S. As the

                                                                                16 Ninth Circuit has explained, “[t]he First Amendment protects speech for the sake of both the

                                                                                17 speaker and the recipient.” Thunder Studios, Inc. v. Kazal, 13 F.4th 736, 743 (9th Cir. 2021); id. at

                                                                                18 740-744 (holding that the First Amendment protected the speech and speech-related conduct of

                                                                                19 noncitizens that took place in the United Arab Emirates and Australia); see also Free Speech

                                                                                20 Coal., Inc. v. Rokita, 2024 WL 3228197, at *6 (S.D. Ind. June 28, 2024) (concluding that foreign

                                                                                21 websites have the “ability to vindicate the First Amendment rights of its Indiana visitors through a

                                                                                22 facial challenge.”) (citing Free Speech Coal., Inc. v. Paxton, 95 F.4th 263, 306 (5th Cir.)

                                                                                23 (Higginbotham, J., concurring in part and dissenting in part), cert. granted, 144 S. Ct. 2714

                                                                                24 (2024); see also United States v. 18 Packages of Magazines, 238 F. Supp. 846, 847-48 (N. D. Cal.

                                                                                25 1964) (“The [First Amendment] rights of readers are not to be curtailed because of the

                                                                                26 geographical origin of printed materials”).

                                                                                27         Second, the Non-Party Movants are anonymous in Mexico and/or the United States. The

                                                                                28
                                                                                                                                     13
                                                                                        NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                          Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 20 of 23



                                                                                 1 Affected Account Holders can only lose their anonymity if this U.S.-based proceeding results in

                                                                                 2 an order directing U.S. based social media companies to share their identifying information with

                                                                                 3 Banco Azteca. Because any violation of the Affected Account Holders’ rights can occur only

                                                                                 4 within the United States, they are entitled to invoke the First Amendment to shield their right to

                                                                                 5 free speech. Cf. Mosafer Inc. v. Broidy, 2022 WL 793029, at *10 (C.D. Cal. Feb. 4, 2022)

                                                                                 6 (applying anti-SLAPP statute to statements by foreign defendants published abroad), aff'd, No. 22-

                                                                                 7 55265, 2023 WL 8295921 (9th Cir. Dec. 1, 2023); Douglass v. Nippon Yusen Kabushiki Kaisha,

                                                                                 8 46 F.4th 226, 232 (5th Cir. 2022) (“Here, however, NYK invokes its constitutional due process

                                                                                 9 rights in the course of litigation in the United States. Therefore, any constitutional violation can

                                                                                10 occur only in the United States”) cert. denied sub nom. Douglass v. Kaisha, 143 S. Ct. 1021

                                                                                11 (2023); United States v. Bescond, 24 F.4th 759, 768 (2d Cir. 2021) (“Bescond is not a free-floating

                                                                                12 foreigner invoking the jurisdiction of our federal courts to vindicate a Constitutional right. It is the
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 government that invoked such jurisdiction when it pursued indictment; Bescond is a defendant in a
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 U.S. criminal court. As such, she is not without rights.”)

                                                                                15           The United States’ policy in favor of free speech extends to anonymous speech on the

                                                                                16 Internet: “[a]lthough the Internet is the latest platform for anonymous speech, online speech stands

                                                                                17 on the same footing as other speech….” In re Anonymous Online Speakers, 661 F.3d 1168, 1173

                                                                                18 (9th Cir. 2011). That policy includes the promotion of anonymous speech abroad. 10 In that vein,

                                                                                19 courts have recognized that a “request for identifying information” that undermines First

                                                                                20 Amendment protections “is unduly burdensome under Intel.” In re PGS Home Co. Ltd., 2019 WL

                                                                                21 6311407, at *6 (N.D. Cal. Nov. 25, 2019).

                                                                                22           Courts in the Ninth Circuit typically apply the test set forth in Highfields Capital

                                                                                23 Management, L.P. v. Doe, which applies subpoenas brought under Section 1782 and requires the

                                                                                24 applicant to present a “real evidentiary basis” for the claims it seeks to assert. 385 F. Supp. 2d 969,

                                                                                25 975-967 (N.D. Cal. 2005). If the applicant does so, the court must determine whether “enforcing

                                                                                26 the subpoena would cause relatively little harm to the defendant’s First Amendment and privacy

                                                                                27
                                                                                     10
                                                                                     E.g., Hon. Hillary Rodham Clinton, Remarks on Internet Freedom, U.S. DEP’T OF STATE (Jan
                                                                                28 21. 2020), https://2009-2017.state.gov/secretary/20092013clinton/rm/2010/01/135519.htm.
                                                                                                                                   14
                                                                                           NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                           MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 21 of 23



                                                                                 1 rights and that its issuance is necessary to enable plaintiff to protect against or remedy serious

                                                                                 2 wrongs.” Id.

                                                                                 3         As set forth above, the Amended Application does not provide any “real evidentiary basis”

                                                                                 4 for the claims purportedly being asserted in Mexico. That factor is thus not satisfied, and the

                                                                                 5 analysis should end there. But even assuming arguendo that a “real evidentiary basis” were shown,

                                                                                 6 the Court should conclude that unmasking the anonymous account holders would harm First

                                                                                 7 Amendment rights. The Non-Party Movants are media organizations or individuals who

                                                                                 8 disseminate political speech that is core to the First Amendment’s purpose, and the U.S.-based

                                                                                 9 public’s right to hear that speech would be burdened if the account holders’ speech was chilled.

                                                                                10 That is a significant First Amendment concern as recognized by the case law cited above, and

                                                                                11 counsels for denying the Application, particularly under the circumstances as set forth above.

                                                                                12 VI.     CONCLUSION
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13         Banco Azteca ironically claims that it “defer[s] to the processes and regulations followed
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 by the relevant law enforcement divisions in that jurisdiction and related law, including, but not

                                                                                15 limited to, confidentiality requirements.” (Fernández Dec., Ex. D.) This very proceeding is

                                                                                16 predicated on evading such processes and regulations. (Katz Dec. ¶¶ 17-18.)

                                                                                17         The real purpose of the Amended Application is to harass and intimidate social media

                                                                                18 users and journalists who are perceived opponents of Ricardo Salinas Pliego. The Court should not

                                                                                19 permit Banco Azteca's unnecessary and unwarranted fishing expedition to unmask the Affected

                                                                                20 Account Holders without a serious and well-documented showing that each of these social media

                                                                                21 users have done something that violates Mexican law. While unmasking the Non-Party Movants

                                                                                22 would necessarily prejudice them, Banco Azteca “is not prejudiced because the MLAT procedure

                                                                                23 remains available to Mexican prosecutorial or judicial authorities to seek the evidence if they

                                                                                24 deem it necessary.” Antaeus Grp. LLC, 2022 WL 17731821, at *9. The Court should thus exercise

                                                                                25 its discretion to channel Banco Azteca’s request through formal channels that will provide

                                                                                26 appropriate safeguards.

                                                                                27         In the alternative, the Court should defer consideration of the Amended Application and

                                                                                28
                                                                                                                                     15
                                                                                         NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                         MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                       Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 22 of 23



                                                                                 1 direct that Banco Azteca produce a copy of the criminal complaint and any other documents in its

                                                                                 2 possession—attorneys’ eyes only—to conduct further fact finding about what is transpiring in

                                                                                 3 Mexico. Cf. Khrapunov v. Prosyankin, 931 F.3d 922, 925 (9th Cir. 2019) (reversing for “fact-

                                                                                 4 finding about the nature of [an] English ‘proceeding’” to account for procedural developments in

                                                                                 5 the case). “[F]ederal courts are vested with certain inherent discovery powers owing to the

                                                                                 6 equitable power of Chancery courts to issue bills of discovery.” Nat. Gas Pipeline Co. of Am. v.

                                                                                 7 Energy Gathering, Inc., 2 F.3d 1397, 1409 (5th Cir. 1993). Discovery concerning the Mexican

                                                                                 8 criminal would permit the Court to confirm that Banco Azteca has filed the Application and

                                                                                 9 Amended Application to inappropriately harass political adversaries. This is particularly warranted

                                                                                10 where it appears that Banco Azteca’s U.S. counsel has not reviewed any documents concerning

                                                                                11 the criminal matter in Mexico. (Fernández Dec. ¶10 & Exs. C & D.)

                                                                                12          If the Non-Party Movants’ Motion to Quash is denied, they respectfully request that the
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                13 Court enter a protective order barring certain Subpoena requests and limiting the dissemination of
COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                14 other requests. Courts have discretion to issue a protective order for “good cause” in order to

                                                                                15 “protect a party or person from annoyance, embarrassment, oppression, or undue burden or

                                                                                16 expense[.]” Fed. R. Civ. P. 26(c). To establish “good cause,” there must be a demonstration of

                                                                                17 specific prejudice or harm that would result from the absence of a protective order. Phillips ex rel.

                                                                                18 Ests. of Byrd v. General Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002).

                                                                                19          Here, the Subpoenas’ request for the Affected Account Holders’ credit card information is

                                                                                20 overbroad and should be barred under a protective order. Significant harm to the account holders

                                                                                21 could arise from their credit card information being disclosed to a Mexican bank, and Banco

                                                                                22 Azteca’s Amended Application provides no reason why it needs this information to identify the

                                                                                23 account holders. See In re Path Network, Inc., 2023 WL 8115045, at *17 (N.D. Cal. Nov. 22,

                                                                                24 2023) (“Here, good cause exists to protect the privacy and rights of the persons whose information

                                                                                25 . . . may be produced by Discord in response to an appropriate subpoena ..”)

                                                                                26

                                                                                27

                                                                                28
                                                                                                                                     16
                                                                                        NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                        MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
                                                                                     Case 5:24-mc-80091-NC Document 44 Filed 09/17/24 Page 23 of 23



                                                                                 1 DATED: September 17, 2024                  Respectfully submitted,

                                                                                 2                                            COZEN O’CONNOR

                                                                                 3                                    By:     /s/ Michael A. Fernández
                                                                                 4                                            Matthew E. Lewitz (SBN 325379)
                                                                                                                              mlewitz@cozen.com
                                                                                 5                                            COZEN O’CONNOR
                                                                                                                              401 Wilshire Boulevard, Suite 850
                                                                                 6                                            Santa Monica, CA 90401
                                                                                                                              T: (213) 892-7937
                                                                                 7                                            F: (310) 394-4700
                                                                                 8                                            Michael A. Fernández (Pro Hac Vice)
                                                                                                                              mfernandez@cozen.com
                                                                                 9                                            COZEN O’CONNOR
                                                                                                                              3 WTC, 175 Greenwich Street
                                                                                10                                            55th Floor
                                                                                                                              New York, NY 10017
                                                                                11                                            T: (212) 453-3713
                                                                                                                              F: (646) 461-2075
                                                                                12
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                                                              Attorneys for Non-Party
                                                                                13
COZEN O’ CONNOR




                                                                                                                              X Account Holders,
                                                        LOS ANGELES, CA 90017




                                                                                                                              John Doe 1 a.k.a @FreddyOliviery;
                                                                                14                                            John Doe 2 a.ka. @PonchoGutz;
                                                                                                                              Meta Account Holders,
                                                                                15                                            John Doe 3 a.k.a. “Luis Guillermo
                                                                                                                              Hernández”;
                                                                                16                                            John Doe 4 a.k.a. “Hans Salazar”; and
                                                                                                                              Google LLC Account Holder,
                                                                                17                                            John Doe 5 a.k.a. “SinCensuraTVMedia”
                                                                                18

                                                                                19

                                                                                20

                                                                                21

                                                                                22

                                                                                23

                                                                                24

                                                                                25

                                                                                26

                                                                                27

                                                                                28
                                                                                                                         17
                                                                                      NON-PARTY X, META AND GOOGLE ACCOUNT HOLDERS’ NOTICE OF MOTION AND
                                                                                      MOTION TO QUASH AND/OR FOR PROTECTIVE ORDER - CASE NO.: 5:24-MC-80091-NC
